Case 1:25-cv-05201-JAV   Document 51-4   Filed 07/17/25   Page 1 of 16




                          EXHIBIT D
Case 1:25-cv-05201-JAV   Document 51-4   Filed 07/17/25   Page 2 of 16




                            On MLS Study
                             Measuring the Benefits of an
                             Open Marketplace


                             August 2022
               Case 1:25-cv-05201-JAV             Document 51-4      Filed 07/17/25   Page 3 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




Study Authors

Kevin C. Gillen, PhD, Senior Research Fellow, Lindy Institute for
Urban Innovation and Adjunct Professor of Finance at Drexel
University


Ken Schneider, Vice President, Strategic Initiatives at Bright MLS


Lisa Sturtevant, PhD, Chief Economist at Bright MLS




Special Acknowledgment

Tim Hayes, Principal Data Scientist at Bright MLS, for data
processing and analysis support




                                                                                                     2
               Case 1:25-cv-05201-JAV              Document 51-4           Filed 07/17/25        Page 4 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




Summary

Most homes are listed and sold on a multiple listing service (MLS), a cooperative database that helps
real estate brokers and agents connect buyers and sellers and facilitate home sales transactions. In the
Bright MLS footprint, which covers six states and the District of Columbia, there were over 330,000 home
sales transactions through the MLS in 2021. More than 80% of all home sales in this region are listed and
marketed on the MLS. For real estate professionals, the MLS helps their business be much more efficient.
And there are also are significant benefits to the MLS for consumers.


Over the past few years, demand for housing has been very strong and homes have been selling quickly.
Homes regularly sold for above the seller’s asking price, and buyers often waived inspections or other
contingencies, or made an all-cash offer in order to be competitive. Given how quickly homes have been
selling, it is logical to ask the question – What is the benefit of the cooperative MLS to buyers and sellers?
This research demonstrates that even when we are in a market when it is “easy” to sell a home, the Bright
MLS creates a more competitive market for housing, resulting in better offers and quicker transactions.


The MLS provides a tangible benefit to buyers, as it ensures all prospective buyers have equal access to
information on all homes available for sale. The MLS also benefits sellers, as it supports competition for
their home and encourages the best possible offer. Bright MLS’ Chief Economist and data scientists, in
partnership with associated university researchers, conducted a study of the impacts of the MLS in the
Mid-Atlantic. This research builds on and enhances prior analysis conducted in 2021 on the advantages
associated with selling a home on-MLS. Using a careful data filtering process and a rigorous empirical
methodology to ensure comparable on- and off-MLS properties, and employing a multivariate statistical
analysis, this research finds that homes sold on-MLS commanded a 13.0% higher price than those sold off-
MLS over the period 2019 through the first quarter of 2022.


The study also analyzed office exclusives — transactions where the listing brokerage firm markets a home
only to other agents within the same firm and which are a growing share of off-MLS listings. There may
be reasons sellers request an office exclusive listing if they do not want their home marketed to a wide
audience. However, office exclusives can create inequalities in the housing market by limiting access
to subsets of prospective buyers. Furthermore, this research finds that homes promoted as an office
exclusive take longer to sell and bring the seller a lower price than homes marketed through the MLS.


The benefits associated with selling a home on the MLS are clear, even during the fast-paced market of
the last two years. This research ultimately concludes that the open, clear, and competitive marketplace
created by the MLS generates the best outcomes for consumers.
                                                                                                                 3
                Case 1:25-cv-05201-JAV               Document 51-4     Filed 07/17/25     Page 5 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




Introduction

At its essence, a multiple listing service (MLS) is an agreement
among real estate brokers to cooperatively share information.
An MLS is used by participating real estate brokers to provide
information about homes for sale and to facilitate home sale
transactions. Bright MLS is one of the largest MLSs in the country,
spanning six states and the District of Columbia and helps drive the
business of more than 100,000 real estate professionals who serve
millions of home buyers and sellers across the Mid-Atlantic.


For buyers, the MLS helps ensure that everyone can see all
properties available for sale with access to the same information
about available properties. The MLS also makes the home
search process more efficient by allowing real estate agents and
consumers to search properties quickly and conveniently, without
having to contact different real estate brokers. The MLS benefits
sellers, too, as it serves as a one-stop shop, allowing the greatest
                                                                              ABOUT BRIGHT
number of prospective homebuyers to view their homes. As a
result, sellers get the most competitive offer for their home.                Bright’s industry-leading MLS supports
                                                                              more than 100,000 real estate
Larger MLSs have been shown to enhance competition in the real                professionals who serve millions of home
estate market by reducing search costs for buyers and increasing              buyers and sellers across six statesiv and
listing exposure for sellers.i Several studies have analyzed the              the District of Columbia. Due to its broad
benefits of an MLS to consumers, finding that the MLS can lead to             geographic coverage, the Bright MLS
higher sales prices and faster transaction times compared to sales            service area is a microcosm of all types
conducted off the MLS (e.g., for-sale by owner and office exclusive           of residential real estate available – from
listings). Most prior research has examined relatively small
         ii                                                                   urban condos, suburban family homes,
markets and has not analyzed the MLS’s impact in recent years                 waterfront properties, farms, mountain
when housing demand was particularly strong, fueled by increased              getaways, and everything in between.
savings, historically low mortgage rates, and work-from-home                  In 2021 alone, Bright MLS subscribers
trends. This study builds off of and enhances a study conducted by            facilitated more than $141 billion in real
Bright MLS and affiliated researchers in 2021 to provide the most
                                               iii                            estate transactions, helping more than
comprehensive and timely analysis of the benefits of the MLS                  half a million consumers buy or sell a home.
to consumers.


                                                                                                                           4
            Case 1:25-cv-05201-JAV             Document 51-4           Filed 07/17/25        Page 6 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




              HOW THIS STUDY DIFFERS FROM LAST YEAR’S

              In 2021, Bright MLS and external research partners examined differences in the prices of
              properties sold on and off the MLS. The 2021 study was the beginning of this important analysis
              of benefits of the MLS to consumers. The methodology used in the 2021 analysis ultimately found
              that for typical mid-market homes, homes sold on-MLS had prices that were 17.0% higher than
              homes sold off-MLS.

              The 2021 study represented a first-of-its kind analysis to link MLS and public record data, creating
              a comprehensive dataset of home sales transactions that could be used to compare on- and off-
              MLS sales.

              The current study builds on that prior research and responds to industry feedback by enhancing
              the data filtering and cleaning process and by using a rigorous multivariate regression-based
              analysis. The current study’s methodology and extra year and a half of data ultimately confirm
              the findings from the prior study. The current study’s larger data set also adds allows for an
              evaluation of on- and off-MLS transactions during the height of the recent robust housing market.

              An enhanced data cleaning process was used for the updated study, which standardized MLS
              and public record data across five statesv and the District of Columbia (representing more than
              60 counties) to successfully filter out:

                  Between family members or close associates,
                  “Flip Sales”; i.e. speculative sales of the same property within a few months,
                  New Construction,
                  Multiparcel “blanket” sales; i.e. sales of multiple properties from the same buyer to the same
                  seller for a single price,
                  Government purchases and sales; e.g. from HUD, Fannie Mae, Freddie Mac, etc.,
                  And other non-traditional sales (e.g., REOs, short sales, bank sales/purchases, auctions, etc.)


              The resulting analysis utilizes a thoroughly filtered data sample that only includes single-family,
              residential, resale, and arm’s-length transactions.

              The 2021 study included a comparison of median home prices for on- and off-MLS transactions.
              The current research employs a rigorous multivariate analysis, which includes a range of property
              and neighborhood characteristics that impact home price. Controlling for these factors makes
              it easier to more reliably estimate the impact of a property being marketed on the MLS. Results
              from this research confirm the prior study’s findings of a significant consumer benefit associated
              with listing and marketing a home on the MLS.

                                                                                                                     5
            Case 1:25-cv-05201-JAV       Document 51-4         Filed 07/17/25        Page 7 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




How the MLS Benefits
Consumers

                                           FOR BUYERS
                                           Creates a level playing field where all buyers have access
                                           to the same information about properties for sale.


                                           Increases the choices offered to consumers by ensuring
                                           that all homes for sale are available for buyers to see.


                                           Reduces search costs, allowing buyers to use one
                                           platform to search for homes in their market area.




                                           FOR SELLERS
                                           Creates economies of both scale and scope, allowing
                                           information about the seller’s listing to be
                                           disseminated broadly.


                                           Expands visibility of their property to more prospective
                                           home buyers, creating more competition and a greater
                                           number and variety of offers.


                                           Ensures sellers receive the most competitive offer for
                                           their property.




                                                                                                        6
               Case 1:25-cv-05201-JAV              Document 51-4          Filed 07/17/25        Page 8 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




Methodology
Data
Bright MLS collaborated with external research partners to compare prices of homes that were marketed and
sold on the MLS (“on-MLS”) with the prices of homes that were sold off-MLS. This research analyzed more
than 840,000 home sales transactions taking place in five states and the District of Columbia in 2019, 2020,
2021 and the first quarter of 2022. This study combined Bright MLS listing information—the comprehensive
database of properties listed for sale by participating real estate brokers—with data from public records, which
includes information on all home sales transactions, including those conducted outside of the MLS.


For this analysis, critical steps were taken to reconcile differences in public records data across 60+ individual
counties and cities and to target only traditional arm’s-length residential resale home sales transactions.

    Identifying On- and Off—MLS Sales: The Bright data was used to identify if a property was listed, shared
    cooperatively, and sold on-MLS. Public record sales were matched to MLS sales, and if the public record
    settlement date and the MLS closed date were within 30 days, or if the public records deed recording
    date and the MLS closed date were within 60 days, then the sale was considered on-MLS.

    Including Only Arm’s-Length Transactions: An arm’s-length transaction is one in which the buyers
    and sellers act independently and do not have any relationship to each other. Hence, each party only
    consummates the transaction if they perceive it to be in their own self-interest. As a result, the recorded
    sales prices can be considered a true “market” price. This study identifies traditional arm’s-length
    residential resale transactions by excluding transactions (both on- and off-MLS transactions) where the
    sale price was less than $45,000 and where the unit’s total living area was less than 500 square feet.

    Excluding Short Sales: Also excluded from the analysis are transactions that were short sales,
    foreclosures, sheriff’s sales or auctions, along with multi-parcel sales, coop listings, corporate buyers,
    bank sales and new construction. In addition to these filters, both the Bright MLS and public record data
    were used to identify “flips”—that is, homes purchased by investors and quickly (within 12 months) turned
    around and resold. Homes identified as “flips” were excluded from the analysis.

    Excluding Outliers: Lastly, properties with characteristics that would be considered “outliers” were
    deleted from the sample. Properties in the top and bottom 1.5% of transactions based on the home’s total
    living area, sales price, and price per square foot were removed for this analysis. The resulting dataset
    was comprised of 841,266 individual transactions taking place between January 2019 and March 2022.
    The analysis determined that 701,309, or 83.4% of the transactions occurred on-MLS and 139,957
    occurred off-MLS.

                                                                                                                     7
               Case 1:25-cv-05201-JAV              Document 51-4          Filed 07/17/25        Page 9 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




Study Approach
To estimate the impact of listing a home on the MLS compared to selling outside of the MLS, this analysis
accounts for property and neighborhood characteristics that influence the selling price of a home. After
adjusting for differences in across individual property and neighborhood characteristics , the model then
isolates and measures the impact of the MLS. In other words, this approach is designed to compare two
similar properties in similar neighborhoods and answer the question “What difference does it make if the
home is listed and marketed on the MLS versus sold some other way?”


A whole range of factors were included as explanatory variables in the model, including property
characteristics, such as property square footage and age, and neighborhood characteristics, such a
median neighborhood income and distance to the central business district. As a result of restrictions
and inconsistencies in the public records data, there were limits on the independent variables that could
be included in the model. In particular, information on the number of bedrooms and bathrooms, which
is consistently available for homes listed on the MLS, is not routinely collected or made available by
local governments in the public records data. By contrast, total living area (square feet) is available more
consistently in public records data. Despite these limitations, the models include a range of explanatory
variables that account for both property and neighborhood characteristics in order to isolate and accurately
measure the true impact of a home’s sale price versus whether it transacted on-MLS v. off-MLS. The model’s
high R-squared values—which measures a regression model’s predictive accuracy—would seem to validate
this empirical approach.




                                                                                                               8
             Case 1:25-cv-05201-JAV             Document 51-4           Filed 07/17/25      Page 10 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




Variables



             Dependent                      Log of home price*
             variable

                                            Single-family detached/townhome or condominium

                                            Age of the home

                                            New construction

                                            Total living area (square feet)

                                            Distance to the region’s central business district

                                            Neighborhood characteristics (Census tract data)
             Independent
             variables
                                                 Homeownership rate

                                                 Percent multifamily units

                                                 Percent households with 2+ people

                                                 Percent married-couple households

                                                 Percent of adults with bachelor’s degree or higher

                                                 Percent of population age 65+
                                                 Median household income


       *The home price is logged so that the model’s parameter estimates can be interpreted as
       percentages.


Models were run separately for single-family homes (which includes single-family detached homes,
as well as townhomes) and condominiumsvi. Separate models were also run for 2019, 2020, 2021 and
the first quarter of 2022 and for each of the three major metropolitan areas in the Bright MLS footprint
(Philadelphia, Baltimore, and Washington DC).




                                                                                                            9
               Case 1:25-cv-05201-JAV            Document 51-4          Filed 07/17/25        Page 11 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




Results

The vast majority of homes sold in the Mid-Atlantic are listed on the MLS. Between January 2019 and March
2022, 83.4% of all homes sold were listed and marketed with Bright MLS. The highest share of on-MLS sales
was in the Washington DC metro area (86.0%) and the lowest was in the Baltimore metro area (77.0%).


In the Mid-Atlantic, the share of homes sold on-MLS increased in 2020, likely reflecting the challenges
associated with selling a home during the early months of the COVID-19 pandemic. The on-MLS share fell in
2021 but rebounded in the first quarter of 2022, when 86.0% of all Mid-Atlantic sales took place on the MLS.



Share of On-MLS Home Sales

   Region                  2019-2022              2019                  2020                2021                Q1 2022

   Mid-Atlantic              83.4%                82.6%               84.7%                82.0%                 86.0%

   Philadelphia              85.0%                82.2%               85.9%                 85.1%                88.6%

   Baltimore                 77.0%                82.2%               81.8%                 70.2%                76.4%

   Washington DC             86.0%                83.7%               86.1%                 86.1%                89.8%




                                                            Homes listed and sold on the MLS sold for an average of 13.0%
                                                            more than comparable homes sold off-MLS. After controlling
                                                            for property and neighborhood characteristics, this analysis
                  +13.0%
                                                            found that homes marketed and sold on the Bright MLS
                                                            between 2019 and the first quarter of 2022 had sales prices
       Between 2019 and 2022, the                           that were 13.0% higher than comparable homes that were
                                                            not listed on the MLS. This amounts to an additional $45,471
       Typical Home Sold for 13.0%
                                                            to the seller for the typical home sold over the study period.
       More When Listed on the                              On average, homes selling off-MLS over this time frame sold
       MLS—a Premium of $45,471                             for $349,773 while similar properties sold on-MLS sold for
                                                            $395,244.
       Compared to Homes Sold
       Off-MLS in the Mid-Atlantic.
                                                            There were price premiums associated with the MLS across
                                                            the Mid-Atlantic’s three major metro areas, with on-MLS
                                                            properties commanding 10.5% higher prices, on average, in the
                                                            Philadelphia metro area, 10.1% higher in the Baltimore metro
                                                            area, and 14.9% higher in the Washington DC metro area.
                                                                                                                             10
                Case 1:25-cv-05201-JAV          Document 51-4                Filed 07/17/25             Page 12 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




Results from Multivariate Analysis: Increase in Home Price Associated with
Listing on Bright MLS*

    Region                   2019-2022               2019                   2020                     2021                            Q1 2022*

    Mid-Atlantic               13.0%                 9.8%                   10.1%                   14.8%                               19.7%

    Philadelphia               10.5%                 7.6%                   8.0%                     11.2%                             15.3%

    Baltimore                  10.1%                 13.0%                 10.2%                    10.6%                               17.3%

    Washington DC              14.9%                 11.5%                  11.5%                   16.5%                               21.2%
                                                                                                    *Full regression results available from the study authors.




Seller Benefits Associated with Selling On-MLS
Mid-Atlantic




   2019                                                                                         $31,402




  2020                                                                                                        $35,455



   2021                                                                                                                         $55,779



Q1 2022                                                                                                                                $71,622


          $0       $50.000     $100.000   $150.000       $200.000       $250.000         $300.000      $350.000             $400.000              $450.000

                                                                    Average Sale Price




                                                                                                                                                         11
              Case 1:25-cv-05201-JAV              Document 51-4          Filed 07/17/25        Page 13 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




The on-MLS price premium generally increased over the study
period. In 2019, homes sold in the Mid-Atlantic on the MLS
commanded 9.8% higher prices than those sold off-MLS, a
$31,402 price premium. In 2021, on-MLS homes sold for an
average of 14.8% than off-MLS properties, on average, which                         In 2021, on-MLS homes sold for
translates into a $55,779 price premium.                                            14.8% than off-MLS properties,
                                                                                    on average, which translates
The impact increased even more in the first quarter of 2022. The
bigger impact reported for 2022 likely reflects seasonality in the                  into a $55,779 price premium.
housing market. However, the 2022 results strongly suggest that
there continues to be a price premium associated with listing and
selling a home on the MLS.



Office Exclusives
Office exclusive sales result in lower offers and extended days on market. An office exclusive is a particular
kind of off-MLS transaction where the listing firm markets the home only within the broker’s firm. The listing is
not entered into the MLS and is not marketed publicly. Sellers might request an office exclusive listing if they
do not want their home openly marketed to the public. While there may be certain circumstances where an
office exclusive listing offers benefits to the seller, for example when widespread knowledge of the listing is not
desired due to legitimate privacy concerns, promoting a home as an office exclusive generally correlates with a
lower sales price and a longer lead time.


Because office exclusives by their very nature and design limit the number of people who are able to view a
home, many prospective buyers are left out. The lack of access to listings is not spread evenly across the housing
market. Recent research found that office exclusive listings tend to exclude non-white buyers at higher rates,
exacerbating racial and economic inequalities in the housing market.vii

While office exclusives are not marketed on the MLS, listing firms submit information about an office exclusive
listing to Bright MLS. Between April and December 2021, there were about 5,600 office exclusive listings
throughout the Bright MLS footprint. The number of office exclusives in the region increased between 2020 and
2021 but remains a relatively small share of the total off-MLS transactions.




                                  What is an office exclusive?
                                  A transaction where the listing brokerage firm markets
                                  a home only to other agents within the same firm.


                                                                                                                      12
                 Case 1:25-cv-05201-JAV           Document 51-4           Filed 07/17/25        Page 14 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




Ultimately, most homes that begin as office exclusives are not
successfully sold that way, which extends the time period for a
sale. Only 12.6% of properties that were initially marketed as office
exclusives were successfully sold as an office exclusive. Nearly
two-thirds (63.0%) of office exclusives were eventually promoted
and sold on Bright MLS. The remaining 24.4% of properties
marketed as office exclusives between April 2021 and December                       Office exclusives limit
2021 had still not sold or may have been removed from the market
as of the end of the first quarter of 2022.                                         buyers’ access to listings,
                                                                                    which can reinforce
The study results also apply to office exclusives: Promoting a prior
office exclusive listing by entering it into the MLS brings in a better             inequalities in the
price for the seller. Over the April 2021 through December 2021
                                                                                    housing market.
period, homes that were originally marketed as an office exclusive
but ultimately were listed on the MLS sold for 22.2% more than                      Source: Korver-Glenn, Elizabeth. 2018

homes that were sold as an office exclusive. Homes also tended to
sell more quickly when they were listed and marketed on the MLS
than when they were promoted as office exclusives. The median
days to a contract for homes selling on the MLS between April 2021
and December 2021 was 7. Homes that switched from an office
exclusive to an MLS listing were on the market typically for 18 days
before they then sold in 6 days on the MLS.




  Total Office Exclusives:                                                                               5,599              100.0%

  Eventually listed and sold on the MLS                                                                  3,525              63.0%

  Sold off-MLS                                                                                            703               12.6%

  Not sold (as of March 31, 2022)                                                                         1,371             24.4%



  Days to Contract (Median)                                          Median Sales Prices

  On-MLS sales                                    7 days             Office exclusives sold on the MLS                  $550,000

  Office exclusives that ultimately sell on-MLS   24 days            Office exclusives sold off-MLS                     $450,000

  Excess time to seller with office exclusive     18 days            On-MLS premium                                         22.2%




                                                                                                                                    13
                      Case 1:25-cv-05201-JAV                    Document 51-4              Filed 07/17/25   Page 15 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




I
      Bradbury, James S. 2019. Revenge of the Realtors: The Procompetitive Case for

Consolidating Multiple Listings Services. University of Colorado Law Review.


II
     See, for example, Sklarz, Michael and Norman Miller. 2017. Saving Real Estate

Commissions at Any Price. Collateral Analytics; Li, Lingxiao and Abdullah Yavas.

2015. The Impact of a Multiple Listing Service. Real Estate Economics 43(2):

471-506; Hendel, Iglal, Aviv Nevo, and Francois Ortalo-Magne. 2007. The Relative

Performance of Real Estate Marketing Platforms: MLS Versus FSBOMadison.com,”

NBER Working Paper Series Working Paper 13360; and Bernheim, B. Douglas and

Jonathan Meer. 2007. How Much Do Real Estate Brokers Add? A Case Study. SIEPR

Discussion Paper No. 06-41.


III
      On/Off MLS Study. 2021. https://brightmls.com/article/on-off-mls-study


IV
      Maryland, New Jersey, Pennsylvania, Virginia, Delaware, and West Virginia


V
      Public records data were not readily available from West Virginia, so transactions

in that state were excluded from this analysis.


VI
      Combined single-family and condominium estimates are included in this report.

Contact the study authors for separate estimates for the different housing types.\


VII
      Korver-Glenn, Elizabeth. 2018. Brokering Ties and Inequality: How White Real

Estate Agents Recreate Advantage and Exclusion in Urban Housing Markets. Social

Currents 5(4): 350-368.




BrightMLS.com /OnMLSStudy


All inquiries regarding this report may be directed to:

Christy Reap, Director of Media Relations

Christy.Reap@Brightmls.com | 202-309-9362




©2022 Bright MLS. All rights Reserved.
                                                                                                                            14
                          Case 1:25-cv-05201-JAV                       Document 51-4             Filed 07/17/25   Page 16 of 16
On MLS Study: Measuring the Benefits of an Open Marketplace




TECHNICAL APPENDIX
The results in this report are based upon a well-established approach in the
economics literature known as a “hedonic regression”


In 1974, Sherwin Rosen first presented a theory of hedonic pricing in one of the
most well-cited papers in the economics literature: “Hedonic Pricing and Implicit
Markets: Product Differentiation in Pure Competition1,” affiliated with the University
of Rochester and Harvard University. In the publication, Rosen argues that an item’s
total price can be thought of as a sum of the price of each of its individual attributes.
An item’s price can also be regressed on these unique characteristics to determine
the effect of each characteristic on its price.


The basic intuition of a hedonic regression—as it applies to housing—is that the total
value of a home is the sum of its individual characteristics. This includes its physical
characteristics (e.g. size, condition, design), locational characteristics (e.g. proximity
to amenities—such as parks, restaurants and dry cleaners, neighborhood quality of
life, amount of greenspace) and fiscal characteristics of its city or town (e.g. school
quality, frequency of trash collection, quality of roads and parks, etc.)


As an empirical strategy, this report utilized a hedonic regression that is employed
to control for and isolate all of the above factors, in order to uncover and isolate the
effect of a dwelling selling off- v. on-MLS.


The empirical specification that was used is a standard one that has a strong
standing in the academic literature:


yi=β0+β1xi1+β2xi2+...+βxip+εi


Where:


•        yi=the natural log of the ith property’s price

•        i=indexes each observation in the sample: i=1, 2, 3, …N, where N=841,266

•        p=indexes total number of control variables in the regression

•        xij=the characteristic of the ith property with the jth characteristic; e.g. square
         footage

•        xip==   {   =0 if the transaction is off-MLS
                     =1 if the transaction is on-MLS

•        βj=the estimated parameter coefficient on the jth characteristic

•        εi~i.i.d (0,1)

The value of βp gives the value of an on-MLS transaction, after controlling for all
other factors that determine a dwelling’s value.


1
    New York University. “Hedonic Prices and Implicit Markets: Product Differentiation in Pure
Competition.” Accessed Aug. 23, 2021.




©2022 Bright MLS. All rights Reserved.
                                                                                                                                  15
